                       UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF OREGON

 In re
  4 Him Food Group, LLC,                  Case No. 19-62049-tmr11
                                            Amended

                                          SUMMARY OF ACCEPTANCES
 Debtor(s)                                AND REJECTIONS

Instructions to Filer: The summary must reflect all classes designated in the plan,
whether or not ballots were received in each class. If there are no votes in an impaired
class, you must be prepared to discuss cramdown as to that class at the confirmation
hearing.

              Impaired or          Total No. of        % of Dollar Amount    % of Number
 Class        Unimpaired*          Ballots Filed          Accepting**        Accepting**




                              SEE ATTACHED LIST




*If any class is designated as unimpaired, explain on an attached sheet why the class is
unimpaired, or refer to the portion of the disclosure statement that provides that
explanation.

**Complete these percentages only if a class is impaired or there are any rejecting
ballots in an unimpaired class. The latter is required so the judge can determine the vote
outcome if the judge disagrees with your conclusion that the class is unimpaired. When
compiling the amount figures, use the allowed amount of each creditor's claim rather
than any amount shown on the ballot. If the class is unimpaired and there are no rejecting
ballots, enter "No rejecting ballots" in the last three columns of the form.



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This summary consists of         3         pages.

I certify under penalty of perjury that:

   •   this summary completely and accurately reflects all ballots received;
   •   the tabulations are correct to the best of my knowledge;
   •   all ballots received are separated and assembled by acceptances and rejections
       by class;
   •   I have retained the originals;
   •   I will provide copies upon written request;
   •   upon objection to the accuracy of this summary, I will introduce the originals at the
       hearing on the objection for possible admission to the official court record; and
   •   this summary was served on any creditors’ committee and the U.S. Trustee on the
       date below.

06/29/2020                                   /s/ Timothy A. Solomon, OSB #072573
Date                                         Signature                   (OSB# if attorney)
                                             Timothy A. Solomon
                                             Type or Print Signer’s Name




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Continuation of Summary of Acceptances and Rejections




                                            Impaired /       Total # of       % of Dollar
                                                                                            % of Number
    Class #        Class Name                                 Ballots          Amount
                                           Unimpaired                                       Accepting**
                                                               Filed         Accepting**
      1A        Lane County               Unimpaired –         N/A               N/A           N/A
                                        deemed to accept1
      1B        Columbia State            Unimpaired –         N/A               N/A           N/A
                Bank                    deemed to accept2
      1C        Celtic Capital            Unimpaired –         N/A               N/A           N/A
                Corporation             deemed to accept3
      1D        2Loris LLC                Unimpaired –         N/A               N/A           N/A
                                        deemed to accept4
      2         General                Impaired – entitled         17            100%          100%
                Unsecured                   to vote
      3         Lender                 Impaired – entitled         8             100%          100%
                Unsecured                   to vote
      4         Equity Interests       Impaired – deemed       N/A               N/A           N/A
                                           to reject




1
  See Plan § 4.1.1; Disclosure Statement §§ I.B, I.C
2
  See Plan § 4.1.2; Disclosure Statement §§ I.B, I.C
3
  See Plan § 4.1.3; Disclosure Statement §§ I.B, I.C
4
  See Plan § 4.1.4; Disclosure Statement §§ I.B, I.C




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